         Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 1 of 37



                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

In re:                                  §
                                        §
GARDEN OAKS MAINTENANCE                 §         CASE NO.    18-60018-H2-11
ORGANIZATION, INC.,                     §
                                        §
         DEBTOR.                        §


             SECOND AMENDED PLAN OF REORGANIZATION OF THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
                 GARDEN OAKS MAINTENANCE ORGANIZATION
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 2 of 37



       Pursuant to title 11 of the United States Code, 11 U.S.C. § 101 et seq., the Official Committee
of Unsecured Creditors of Garden Oaks Maintenance Organization (the “Committee”) in the above-
captioned Chapter 11 Case hereby respectfully proposes the following Second Amended Plan of
Reorganization1 under chapter 11 of the Bankruptcy Code.

                                  ARTICLE I
                  DEFINED TERMS AND RULES OF INTERPRETATION

       A.       Defined Terms.

   Unless the context otherwise requires, the following terms shall have the following meanings when
used in capitalized form herein:

         1.      “2002 Petitions to Amend Restrictions” means the Petition to Amend Restrictions to
Create a Property Owners Association and Certificate of Compliance with the Texas Property Code,
Chapter 204 as recorded in the real property records of Harris County Texas for Garden Oaks Section
1 (file number V953649), Section 2 (file number V953650), Section 3 (file number V842579) and
Section 5 (file number V968826).

        2.      “Accrued Professional Compensation” means, at any given moment, all accrued and/or
unpaid fees and expenses (including, without limitation, fees or expenses Allowed or awarded by a
Final Order of the Bankruptcy Court or any other court of competent jurisdiction) for legal, financial
advisory, accounting and other services and reimbursement of expenses that are awardable and
allowable under §§ 328, 330(a) or 331 of the Bankruptcy Code, arising under §§ 503(b)(2), 503(b)(3),
503(b)(4) or 503(b)(6) of the Bankruptcy Code or otherwise rendered prior to the Effective Date, or
thereafter in connection with: (i) applications filed pursuant to §§ 328, 330 and 331 of the Bankruptcy
Code; (ii) motions seeking the enforcement of the provisions of the Plan or Confirmation Order, by
all Professionals in the Chapter 11 Cases that the Bankruptcy Court has not denied by a Final Order,
to the extent that any such fees and expenses have not previously been paid regardless of whether a
fee application has been filed for any such amount; and (iii) applications for allowance of
Administrative Expenses. To the extent that the Bankruptcy Court or any higher court denies by a
Final Order any amount of a Professional’s fees or expenses, then those amounts shall no longer be
Accrued Professional Compensation.

        3.      “Administrative Claims” means Claims that have been timely filed before the
Administrative Claims Bar Date, pursuant to the deadline and procedure set forth in the Plan or
Confirmation Order (except as otherwise provided by a separate order of the Bankruptcy Court), for
costs and expenses of administration under §§ 503(b) (including claims under §§ 503(b)(3)(F) and
503(b)(9)), 507(b) or 1114(e)(2) of the Bankruptcy Code), including, without limitation: (i) the actual
and necessary costs and expenses incurred after the Petition Date of preserving the Estate and
operating the businesses of GOMO (such as wages, salaries or commissions for services and payments
for goods and other services and leased premises) and (ii) all fees and charges assessed against the



1      On January 8, 2019, the Committee filed the original Plan of Reorganization of the Official Committee of Unsecured
       Creditors of Garden Oaks Maintenance Organization [ECF 70]. On March 11, 2019, the Committee filed its Amended
       Plan of Reorganization of the Official Committee of Unsecured Creditors of Garden Oaks Maintenance
       Organization [ECF 98].


                                                          2
        Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 3 of 37



Estate under chapter 123 of title 28 of the U.S. Code, 28 U.S.C. §§ 1911–1930); provided, however, that
such Administrative Claims shall not include claims for Accrued Professional Compensation.

         4.      “Administrative Claims Bar Date” means the first Business Day that is thirty (30) days
after the entry of the Confirmation Order and is the deadline for a holder of an Administrative Claim
to file a request with the Bankruptcy Court for payment of such Administrative Claim.

        5.      “Adversary Case” means the lawsuit filed by the Committee against GOMO seeking to
enjoin GOMO from collecting the Transfer Fee on the grounds that GOMO was not properly formed
with respect to the Transfer Fee and thus did not have the authority to collect the Transfer Fee.

         6.      “Allowed” means, with respect to any Claim, except as otherwise provided herein: (i) a
Claim that has been scheduled by GOMO in its Schedule as other than disputed, contingent or
unliquidated; (ii) a Claim that has been allowed by a Final Order; (iii) a Claim that is allowed: (a) in any
stipulation of amount and nature of such Claim executed prior to the entry of the Confirmation Order
and approved by the Bankruptcy Court; (b) in any stipulation by GOMO of the amount and nature
of such Claim executed on or after the entry of the Confirmation Order; or (c) in or pursuant to any
contract, instrument or other agreement entered into or assumed in connection herewith; (iv) a Claim
that is allowed pursuant to the terms of this Plan; or (v) a Claim as to which a proof of claim has been
timely filed and as to which no objection has been filed by the objection deadline. Any claim that has
been or is hereafter listed in the Schedule as contingent, unliquidated, or disputed, and for which no
proof of claim is or has been timely filed, is not considered Allowed and shall be expunged without
further action by GOMO and without further notice to any party or action, approval, or order of the
Bankruptcy Court. Notwithstanding anything to the contrary herein, no Claim of any Entity subject
to § 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full
the amount that it owes GOMO, as applicable. For the avoidance of doubt, a proof of claim filed
after the General Bar Date shall not be Allowed for any purposes whatsoever absent entry of a Final
Order allowing such late-filed Claim. “Allow” and “Allowing” shall have correlative meanings.

        7.      “Available Cash” means, with respect to any point in time, GOMO’s Cash remaining
at such point in time.

       8.       “Avoidance Actions” include all avoidance actions under §§ 506(c), 510, 542, 543, 544,
545, 547, 548, 549, 550, 551, 552(b), 553 or 724 of the Bankruptcy Code.

        9.      “Bankruptcy Code” means §§ 101, et seq. of title 11 of the United States Code, and
applicable portions of titles 18 and 28 of the United States Code, as amended from time to time and
as applicable to the Chapter 11 Cases.

       10.    “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas, Houston Division.

       11.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, promulgated
under 28 U.S.C. § 2075, the Local Rules of Bankruptcy Practice and Procedure of the United States
Bankruptcy Court for the Southern District of Texas, and general orders and chamber procedures of
the Bankruptcy Court, each as applicable to the Chapter 11 Cases and as amended from time to time.

        12.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” as that
term is defined in Federal Rules of Bankruptcy Procedure 9006(a).


                                                     3
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 4 of 37



        13.     “Current Bylaws” means the current bylaws of GOMO.

        14.    “Cash” means legal tender of the United States of America or the equivalent thereof,
including bank deposits, checks and readily marketable securities or instruments.

         15.     “Causes of Action” means any and all claims, actions, causes of action, choses in action,
suits, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants, contracts,
controversies, agreements, promises, variances, trespasses, damages, judgments, remedies, rights of
set-off, third-party claims, subrogation claims, contribution claims, reimbursement claims, indemnity
claims, defenses, counterclaims and cross claims, now owned or hereafter acquired by GOMO or the
Estate that are or may be pending or on or have accrued prior to the Effective Date against any person
or entity other than the GOMO based in law or equity, including, without limitation, under the
Bankruptcy Code, whether direct, indirect, derivative or otherwise and whether asserted or unasserted
as of the Confirmation Date; provided, however, that “Causes of Action” shall exclude any Causes of Action
released in the Plan.

        16.     “Chapter 11 Case” means the chapter 11 case commenced when GOMO filed a
voluntary petition for relief under chapter 11 of the Bankruptcy Code on the Petition Date and
assigned Case No. 18-60018.

        17.     “Claim” has the meaning set forth in § 101(5) of the Bankruptcy Code.

        18.      “Class” means a category of Claims or Member Interests as set forth herein pursuant
to § 1122(a) of the Bankruptcy Code.

       19.    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket in this Chapter 11 Case.

       20.    “Confirmation Hearing” means the hearing to consider confirmation of the Plan in
accordance with §§ 1128(a) and 1129 of the Bankruptcy Code, as such hearing may be adjourned or
continued from time to time.

       21.     “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
pursuant § 1129 of the Bankruptcy Code, including all exhibits, appendices, supplements and related
documents. The Confirmation Order may contain terms that supersede the terms in this Plan.

        22.     “Consummation” means the occurrence of the Effective Date.

        23.     “Creditor” has the meaning set forth in § 101(10) of the Bankruptcy Code.

       24.    The “Committee” means the official committee of unsecured creditors appointed in the
Chapter 11 Case by the U.S. Trustee for the Southern District of Texas, pursuant to § 1102 of the
Bankruptcy Code, as such committee may be reconstituted from time to time.

        25.     “Court” means either the Bankruptcy Court or court of competent jurisdiction.

        26.    “GOMO” means Garden Oaks Maintenance Organization. For avoidance of doubt,
unless context demands otherwise, the term “GOMO” includes the Garden Oaks HOA.




                                                    4
        Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 5 of 37



        27.    “Garden Oaks HOA” means Garden Oaks Homeowners Association which, as of the
Effective Date, shall be the successor-in-interest to GOMO pursuant to the provisions of this Plan.
For avoidance of doubt, unless context demands otherwise, the term Garden Oaks HOA includes
GOMO.

        28.     “Deed Restrictions” means the restrictions applying to each of the Sections of Garden
Oaks filed in the real property records of Harris County, Texas.

        29.      “Disclosure Statement” means the Second Amended Disclosure Statement in support of Plan of
Reorganization, dated April 8, 2019, prepared and distributed in accordance with the Bankruptcy Code,
Bankruptcy Rules and any other applicable law, and approved by the Bankruptcy Court in the
Disclosure Statement Order, as it is amended, supplemented or modified from time to time in
compliance with the Disclosure Statement Order, including all exhibits and schedules thereto and
references therein that relate to the Plan, that is prepared and distributed in accordance with the
Bankruptcy Code, the Bankruptcy Rules, and any other applicable law.

       30.     “Disclosure Statement Order” means the order approving the Disclosure Statement
entered by the Bankruptcy Court on _____________ ____, 2019 [ECF ____]. The Disclosure
Statement Order may contain terms that supersede the terms in this Plan.

        31.     “Disputed” means any Claim or any portion thereof: (i) that is listed on GOMO’s
Schedules as unliquidated, disputed or contingent; (ii) as to which GOMO, the Committee, or any
other party-in-interest with standing has interposed a timely objection or request for estimation in
accordance with the Bankruptcy Code and the Bankruptcy Rules; or (iii) otherwise disputed by
GOMO or the Committee in accordance with applicable law, which objection, request for estimation
or dispute has not been withdrawn or determined by a Final Order.

       32.     “Disputed Reserve” means the total of the amounts that would be distributable to holders
of Disputed Claims if such Disputed Claims had been Allowed.

       33.    “Distributions” means the distributions of Cash or other consideration on account of
Allowed Claims to be made under and in accordance with the Plan.

         34.     “Effective Date” means the date specified in a notice filed by the Committee with the
Bankruptcy Court as the date on which the Plan shall take effect, which date shall be the date by which
all of the conditions to effectiveness of the Plan have been satisfied or waived in accordance with the
Plan.

        35.     “Entity” has the meaning set forth in § 101(15) of the Bankruptcy Code.

      36.    “Estate” means the estate of GOMO created on the Petition Date by § 541 of the
Bankruptcy Code.

        37.    “Executory Contracts and Unexpired Leases” means all contracts and leases between
GOMO and any third-parties that are “executory contracts” or “unexpired leases” as such terms are
used in § 365 of the Bankruptcy Code.

        38.     “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.




                                                    5
        Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 6 of 37



        39.     “Final Distribution” means the final distribution of Available Cash by the Garden Oaks
HOA to General Unsecured Creditors which shall occur after payment of all Allowed Administrative
Claims, Priority Claims, Secured Claims, and Professional Fee Claims and shall constitute the complete
administration of the Estate.

        40.      “Final Order” means an order, determination or judgment of the Bankruptcy Court (or
other court of competent jurisdiction) entered on the docket in GOMO’s Chapter 11 Case (or on the
docket of such other court of competent jurisdiction) which has not been reversed, stayed, modified
or amended, and as to which the time to appeal, petition for certiorari or move for re-argument or
rehearing or reconsideration has expired and no appeal or petition for certiorari or appropriate motion
has been timely taken, or as to which any appeal that has been taken or any petition for certiorari that
has been or may be filed has been resolved by the highest court to which the order, determination or
judgment was appealed or from which certiorari was sought or has otherwise been dismissed with
prejudice and as to which the time for any subsequent appeal, petition for certiorari or move for re-
argument or rehearing or reconsideration has expired and no such subsequent appeal or petition for
certiorari or appropriate motion has been timely taken, or has been resolved by the court to which the
order, determination or judgment was so subsequently appealed.

        41.    “Garden Oaks” means the Garden Oaks subdivision.

      42.     “General Bar Date” means August 27, 2018 as established in the Notice of Chapter 11
Bankruptcy Case [ECF 11].

        43.    “General Unsecured Claims” means all unsecured Claims asserted against GOMO.

        44.     “Impaired” means, with respect to a Claim or Class of Claims, has the meaning assigned
in § 1124 of the Bankruptcy Code.

        45.    “Secured Claims” means all secured Claims asserted against GOMO.

        46.      “Person” means any individual, corporation, limited liability company, general
partnership, limited partnership, limited liability partnership, association, joint stock company, joint
venture, estate, trust, unincorporated organization, government or any political subdivision thereof or
any other entity as such term is defined in § 101(15) of the Bankruptcy Code.

        47.    “Petition Date” means April 11, 2018, the date on which GOMO filed the Chapter 11
Case.

         48.     “Plan” means this plan of reorganization under chapter 11 of the Bankruptcy Code,
including, without limitation, all applicable exhibits, supplements, appendices and schedules hereto,
either in its present form or as it may be altered, amended, modified or supplemented from time to
time in accordance with the Bankruptcy Code, the Bankruptcy Rules or herewith, as the case may be.

    49.     “Plan Election” means the election of new directors of Garden Oak HOA (reorganized
GOMO) that the Board shall cause to occur within 90 days of the Effective Date.

        50.    “Plan Supplement” means, collectively, any supplement(s) to the Plan.

       51.    “Priority Claims” means Claims accorded priority in right of payment under § 507(a) of
the Bankruptcy Code.


                                                   6
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 7 of 37



        52.     “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to
the aggregate amount of Allowed Claims in that respective Class, or the proportion that Allowed
Claims in a particular Class bears to the aggregate amount of Allowed Claims in a particular Class and
other Classes entitled to share in the same recovery as such Allowed Claim under the Plan.

       53.     “Proposed Amendments to the Bylaws” means the proposed amendments to the Current
Bylaws attached as Exhibit A.

      54.      “Proposed Amendments to the Deed Restrictions” means the proposed amendments to the
Deed Restrictions attached to this Plan as Exhibit B.

       55.     “Professional” means any person or Entity employed pursuant to a Final Order in
accordance with §§ 327, 328 or 1103 of the Bankruptcy Code, and to be compensated for services
rendered and awarded reimbursement of expenses incurred prior to and including the Effective Date
pursuant to §§ 327, 328, 329, 330 or 331 of the Bankruptcy Code.

        56.    “Professional Fee Claim” means any Claim made in this case for compensation for
services rendered or reimbursement of expenses pursuant to §§ 327, 328, 329, 330 or 331 of the
Bankruptcy Code.

        57.     “Professional Fee Claim Bar Date” means the date that is forty-five (45) days after the
Effective Date.

        58.    “Professional Fee Reserve” means a reserve funded on the Effective Date from GOMO’s
Available Cash, which shall initially be funded in an amount equal to the estimated Accrued
Professional Compensation through the Effective Date provided by each Professional before the
Effective Date. The Professional Fee Reserve shall not be encumbered.

        59.     “Releasees” means the Committee, and the respective Professionals of GOMO and the
Committee in this Chapter 11 Case; provided, however, that each such Person or Entity shall only be
released as specifically set forth in the Plan.

        60.     “Representatives” means, with regard to an Entity, its direct and indirect shareholders,
managers, officers, directors, employees, advisors, members, attorneys, professionals, accountants,
investment bankers, financial advisors, consultants, agents and other representatives (including their
respective officers, directors, employees, independent contractors, members and professionals) and
each of their predecessors, successors and assigns.

        61.     “Section” means any of Sections 1, 2, 3, 4 or 5 of Garden Oaks.

        62.    “Schedule” means the schedule of assets and liabilities, schedule of executory contracts
and statement of financial affairs filed by GOMO pursuant to § 521 of the Bankruptcy Code.

        63.      “Transfer Fee” means the one-time assessment charged by GOMO when a parcel of
property in Garden Oaks Sections 1, 2, 3 and 5 is transferred from one owner to another owner, as
such fee is provided for in the 2002 Petitions to Amend Restrictions in the amount of 0.75% of the
greater of (i) the gross purchase price of property or (ii) the appraisal of the property reflected in the
records of the Harris County Appraisal District, and as such fee is reduced and capped under the
terms of this Plan to an amount equal to $1,500.00 subject to annual increases pursuant to the terms
of the Proposed Amendment to the Bylaws and the Proposed Amendments to the Deed Restrictions.


                                                    7
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 8 of 37



       64.     “U.S. Trustee” means the United States Trustee appointed under § 591 of title 28 of the
United States Code to serve in the Southern District of Texas.

       65.     “Unsecured Claim” means a Claim against GOMO whose repayment is not supported
by any property of the Estate under § 541 of the Bankruptcy Code.

        66.     “Unimpaired” means, with respect to a Claim or Class of Claims, not Impaired.

        B.      Rules of Interpretation.

         1.      For purposes herein: (i) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neutral gender shall include the masculine, feminine and the neutral gender;
(ii) any reference herein to a contract, instrument, release, indenture or other agreement or document
being in a particular form or on particular terms and conditions means that the referenced document
shall be substantially in that form or substantially on those terms and conditions; (iii) any reference
herein to an existing document or exhibit having been filed or to be filed means that document or
exhibit, as it may thereafter be amended, modified or supplemented; (iv) unless otherwise specified,
all references herein to “Articles” are references to Articles hereof or hereto; (v) the words ‘‘herein,’’
“hereof” and ‘‘hereto’’ refer to the Plan in its entirety rather than to a particular portion of the Plan;
(vi) captions and headings to Articles are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation hereof; (vii) the rules of construction set forth
in § 102 of the Bankruptcy Code shall apply; and (viii) any term used in capitalized form herein that is
not otherwise defined, but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the
meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

       2.      The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of
time prescribed or allowed hereby.

      3.       All references herein to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided.

        C.      Exhibits and Schedules.
        All exhibits and schedules to the Plan, including the Plan Supplement, are incorporated into,
and are a part of the Plan, as if set forth herein. All exhibits and schedules to the Plan, including the
Plan Supplement, shall be filed with the Clerk of the Bankruptcy Court not later than the earlier of (i)
ten (10) days prior to the commencement of the Confirmation Hearing and (ii) five (5) days prior to
the deadline for filing objections to confirmation of the Plan.
                                    ARTICLE II
                        ADMINISTRATIVE AND PRIORITY CLAIMS

        A.      Administrative Claims.
        Garden Oaks HOA shall pay each holder of an Allowed Administrative Claim the full unpaid
amount of such Allowed Administrative Claim, in Cash, (a) on the later of: (i) five (5) Business Days
after the Effective Date (or, if not then due, within five (5) Business Days after the date when such
Allowed Administrative Claim is due in the ordinary course of business); (ii) if such Claim is Disputed
and is Allowed after the Effective Date, on the date that is five (5) Business Days after such Claim is


                                                    8
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 9 of 37



Allowed by a Final Order; and (iii) at such later date and upon such terms as may be agreed upon by
a holder of an Allowed Administrative Claim and GOMO, or (b) at such time and upon such terms
as set forth in an order of the Bankruptcy Court; provided, however, that Administrative Claims do not
include Administrative Claims filed after the Administrative Claims Bar Date.
       Upon the Effective Date of the Plan, any Person that paid a Transfer Fee during GOMO’s
bankruptcy case will be entitled to receive the full amount returned as an Allowed Administrative
Claim.
       B.      Professional Compensation and Reimbursement Claims and the
               Professional Fee Reserve.
         All Professionals employed by GOMO or the Committee in the Chapter 11 Case shall
(i) provide to GOMO and the Committee, before the Effective Date, an estimate of their Accrued
Professional Compensation through the Effective Date, and (ii) file all requests for allowance of
compensation and reimbursement of expenses pursuant to §§ 328, 330 or 503(b) of the Bankruptcy
Code for services performed and expenses incurred in the Chapter 11 Case through the Effective
Date by no later than the Professional Fee Claim Bar Date.
       On the Effective Date, Garden Oaks HOA shall establish and fund the Professional Fee
Reserve in accordance with the estimates provided by the Professionals. In the event of excess
amounts remaining in the Professional Fee Reserve after all Allowed Claims of Professionals have
been paid in full, such excess amounts shall be considered Available Cash.
       C.      Priority Claims.
         Garden Oaks HOA shall pay each holder of an Allowed Priority Claim the full unpaid amount
of such Allowed Priority Claim in Cash, on the later of: (i) five (5) Business Days after the Effective
Date; (ii) five (5) Business Days after the date such Priority Claim becomes Allowed; and (iii) the date
such Allowed Priority Claim is payable under applicable non-bankruptcy law.
       D.      General.
        Allowed Administrative Claims and Allowed Priority Claims shall be paid in full. Allowed
Claims for Accrued Professional Compensation shall be paid in full, immediately upon allowance from
Available Cash.
                           ARTICLE III
  CLASSIFICATION AND TREATMENT OF CLAIMS AND MEMBER INTERESTS

       A.      Summary.

         1.    In accordance with § 1123(a)(1) of the Bankruptcy Code, the Committee has not
classified Administrative Claims or Priority Claims.

        2.      The following table classifies Claims against GOMO for all purposes, including voting,
confirmation and distribution pursuant hereto and pursuant to §§ 1122 and 1123(a)(1) of the
Bankruptcy Code. The Plan deems a Claim to be classified in a particular Class only to the extent that
the Claim qualifies within the description of that Class and shall be deemed classified in a different
Class to the extent that such Claim or any portion thereof qualifies within the description of such
different Class. A Claim is in a particular Class only to the extent that any such Claim is Allowed in


                                                   9
      Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 10 of 37



that Class and has not been paid or otherwise settled prior to the Effective Date. Each Class set forth
below is treated hereunder as a distinct Class for voting and distribution purposes.

       B.      Classification of Claims against GOMO.

       1.      Secured Claims

       2.      General Unsecured Claims

       C.      Treatment of Claims against GOMO.

               1.      Secured Claim Class.

       (a)     Classification: The Secured Claim Class consists of all Secured Claims.

       (b)     Allowance: The determination of any Allowed Secured Claims shall be determined by
order of the Bankruptcy Court.

        (c)     Treatment: Except to the extent that a holder of an Allowed Secured Claim agrees to a
different treatment, holders of Allowed Secured Claims, in full and final satisfaction, compromise,
settlement, release, and discharge of and in exchange for each Allowed Secured Claim, each holder of
an Allowed Secured Claim shall receive payment of its Allowed Secured Claim from Available Cash
upon the Effective Date.

       (d)    Voting: The Secured Claim Class is unimpaired and, therefore, each holder of an
Allowed Secured Claim will not be entitled to vote to accept or reject the Plan.

        (e)   Amount of Claim: The Committee does not believe that any creditors hold valid Secured
Claims. The only purported secured claim is in the amount of $2,643.75.

               2.      General Unsecured Class.

       (a)     Classification: The General Unsecured Class consists of all General Unsecured Claims.

       (b)      Allowance: General Unsecured Claims shall be deemed allowed for voting purposes by
an order of the Bankruptcy Court temporarily allowing the claim for voting purposes or as follows:

                       (i)     If GOMO listed a General Unsecured Class Claim on its Schedule in
an undisputed capacity, the holder of the Claim does not file a Proof of Claim and no party files an
objection to the Claim or a motion to seek allowance or disallowance of the claim for voting purposes,
the Claim will be Allowed in the amount indicated on the Schedule.

                        (ii)   Whether or not GOMO listed a General Unsecured Class Claim on its
Schedule, if the holder of the Claim files a Proof of Claim and there is no claim objection pending,
the Claim will be Allowed for voting purposes in the amount indicated on the Proof of Claim.

                       (iii)   If there is an unresolved claim objection pending on the Voting
Deadline, then such claim will be allowed for voting purposes only to the extent that any portion of
the claim would remain if the claim objection is sustained in full unless the holder of the claim seeks


                                                  10
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 11 of 37



temporary allowance of such claim by the date of hearing on confirmation in which case the claim will
be allowed for voting purposes as provided by order of the Bankruptcy Court.

        Notwithstanding the foregoing, the General Unsecured Claims will automatically be
disallowed if the proof of claim was filed after the General Bar Date. Also, if the proof of claim asserts
a return of the transfer fee, the claim will be disallowed in the amount of $1,500 which represents the
limit on the Transfer Fee under the Plan. For any proof of claim that asserts a return of a transfer
fee in an amount less than $1,500, the entire claim will be disallowed.

        (c)       Treatment: Except to the extent that a holder of an Allowed General Unsecured Class
Claim agrees to a different treatment, each holder of an Allowed General Unsecured Class Claim shall
receive, in full and final satisfaction, compromise, settlement, release, and discharge of and in exchange
for each Allowed General Unsecured Class Claim, its pro rata share of Available Cash, that is, cash
available after paying all other claims. To the extent an objection is pending against a holder of a
General Unsecured Class Claim on the Effective Date, no Distributions shall be made until the entire
Claim has been Allowed.

       (d)   Voting: General Unsecured Class is Impaired and, therefore, each holder of an
Allowed General Unsecured Class Claim is entitled to vote to accept or reject the Plan.

       (e)    Amount of Claims: GOMO’s claim registry reflects approximately $1.5 million in
General Unsecured Claims.

        D.      Reservation of Rights.
        Nothing under the Plan shall affect GOMO’s rights with respect to any Unimpaired Claim,
including, without limitation, all rights in respect of legal and equitable defenses to or setoffs or
recoupments against any such Unimpaired Claim.

        E.      Nonconsensual Confirmation.
         The Committee reserves the right to seek confirmation of the Plan under § 1129(b) of the
Bankruptcy Code. To the extent that any Class votes to reject the Plan, the Committee reserves the
rights to modify the Plan.
                                     ARTICLE IV
                         MEANS FOR IMPLEMENTING THE PLAN

        A.      Available Cash.

        Garden Oaks HOA shall pay all Allowed Administrative Claims, Priority Claims, Secured
Claims, and Professional Fee Claims in full from Available Cash. All remaining Available Cash shall
be paid to GOMO’s General Unsecured Creditors as described herein.

        B.      Proposed Amendments to Bylaws.

       Attached as Exhibit A is the Proposed Amendments to the Bylaws. Pursuant to the Texas
Business Organizations Code, the adoption of the Bylaws is the function of the installed Board.



                                                   11
      Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 12 of 37



Promptly following the confirmation of the Plan, the Board shall adopt the Proposed Amendments
to the Bylaws.

       C.      Proposed Amendments to Deed Restrictions.

        Attached as Exhibit B are the Proposed Amendments to the Deed Restrictions. Votes on the
Proposed Amendments will be solicited following the confirmation of the Plan. Votes will be solicited
pursuant to Texas Property Code § 209.0041(h-2), which provides that approval of the Proposed
Amendments to the Deed Restrictions requires the affirmative vote of owners owning 67% of the
lots of each Section of Garden Oaks for such Section of Garden Oaks to adopt the Proposed
Amendments to the Deed Restrictions. The approval of multiple owners of a lot may be reflected by
the signature of any one owner of such lot.

       D.      Suspended Transfer Fees

        In connection with the Adversary Case, the Bankruptcy Court entered an order temporarily
barring GOMO from collecting the Transfer Fee [Adv. 18-03173, ECF 27] (the “Temporary
Suspension Order”). Upon confirmation of the Plan, GOMO shall be authorized to demand payment
of a $1,500 Transfer Fee from each new Owner who did not otherwise pay a Transfer Fee during the
time the Temporary Suspension Order was in effect.

       The Confirmation Order will supersede the Temporary Suspension Order. The Confirmation
Order will include terms limiting Garden Oaks HOA’s authority to collect the transfer fee to the
amount of $1,500 subject the increases provided for in the Proposed Amendments to the Bylaws and
the Proposed Amendments to the Deed Restrictions.

       E.      Election of New Board of Directors.

       The Plan Election will be conducted according to procedures set forth herein.

        In connection with the Plan Election, the homeowners will be entitled to elect three (3)
Directors to represent their respective Sections. One director for each Section will serve a term of
the remaining year from the Effective Date until the first annual meeting following the Effective Date.
One Director for each Section will serve a term of approximately two (2) years – from the Effective
Date until the second annual meeting following the Effective Date. One Director for each Section
will serve a term of approximately three (3) years – from the Effective Date until the third annual
meeting following the Effective Date.

        In connection with the Plan Election, the candidate from each Section receiving the highest
number of votes will serve the three-year term, the candidate from each Section receiving the next
highest number of votes will serve the two-year term, and the candidate from each Section receiving
the next highest numbers of votes will serve the one-year term.

          In an election where two (2) or more candidates receive the same number of votes resulting
in a tie, the winner of the election will be chosen by lot.




                                                  12
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 13 of 37



        F.          Use of Third-Party Management Company

        The new Board of Directors is authorized to contract with a management company that will
be responsible for day-to-day oversight of Deed Restriction enforcement issues. The Committee
believes that having Garden Oaks HOA hire a management company is the most cost-effective
method for objectively and efficiently enforcing Deed Restrictions.

        G.          Operations of GOMO Between the Confirmation Date and the Effective Date.

       GOMO shall continue to operate as debtor-in-possession during the period from the
Confirmation Date through the Effective Date.

        H.          Terms of Injunctions or Stays.

        Unless otherwise provided, all injunctions or stays provided for in the Chapter 11 Case
pursuant to §§ 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation
Date, shall remain in full force and effect until the Chapter 11 Case is closed.

        I.          Conditions to Effectiveness

        The Plan will become effective upon the occurrence of each of the following:

             (i)    the Confirmation Order becomes a Final Order and no stay of the Confirmation
                    Order is in effect, unless the Committee elects, in its sole discretion, to consummate
                    the Plan on an earlier date if an appeal is timely filed;

             (ii)   payment of any and all Allowed Secured Claims; and

         (iii)      payment of any and all Allowed Priority Claims.

        J.          GOMO’s and Creditors’ Committee Professionals.

        Upon the Effective Date, the Professionals employed by GOMO and the Committee shall be
released and discharged from all further authority, duties, responsibilities and obligations relating to
and arising from the Chapter 11 Case; provided, however, that such Professionals shall be deemed retained
after such date solely with respect to: (i) applications filed pursuant to §§ 330 and 331 of the
Bankruptcy Code; (ii) motions seeking enforcement of the provisions of the Plan or the Confirmation
Order; (iii) review and, if appropriate, objections to any request for compensation or expense
reimbursement filed by a Professional; (iv) defend against appeals of the Confirmation Order, if any;
and (v) in the case of the Committee Professionals, the Post Effective Date Actions (defined below).
Garden Oaks HOA shall pay the fees, costs and expenses of such Professionals incurred after the
Effective Date from Available Cash, if such fees, costs and expenses are approved by the Bankruptcy
Court.




                                                     13
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 14 of 37



       K.      Post-Effective Date Actions.

          Following the Effective Date, the Committee shall continue to exist and have authority to act
in this Chapter 11 Case, and its Professionals shall be deemed retained, after such date with respect to
(collectively, the “Post-Effective Date Actions”): (i) seek reimbursement of expenses sought by a member
of the Committee; (ii) pursue and resolve objections to Claims, and (ii) any other action that the
Committee and the Professionals are permitted to take after the Effective Date by the terms of this
Plan or by a Final Order of the Bankruptcy Court. Upon substantial completion of the Post-Effective
Date Actions, as determined by the Committee in its reasonable business judgement, the Committee
shall file a notice (the “Completion Notice”) on the docket in the Bankruptcy Case. Upon the filing of
the Completion Notice, the Committee shall dissolve, and its members and Professionals shall be
released and discharged from all further authority, duties, responsibilities and obligations relating to
and arising from the Chapter 11 Case.

        Garden Oaks HOA shall pay the fees, costs and expenses of such Professionals incurred after
the Effective Date, if the Bankruptcy Court approves such fees, costs and expenses.

        Promptly following the Completion Notice, Garden Oaks HOA shall make the Final
Distribution.

       L.      Compromise with the Changs.

         A Texas appeals court in Garden Oaks Maintenance Organization v. Chang, 542 S.W.3d 117 (Tex.
App.—Houston [14th Dist.] 2017) determined that the finding that GOMO is not properly formed
applied only to the Peter and Katherine Chang, not other residents of the neighborhood because the
other residents of the neighborhood were not parties to the litigation. Notwithstanding the rulings in
the Chang case, Peter and Katherine Chang will agree to be bound to the terms of the reduced transfer
fee set forth in this Plan provided that their proof of claim is deemed allowed and they do not have
to incur any additional legal fees to defend their claim.

                                    ARTICLE V
                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Distributions to Holders of Unsecured Claims.

        After the Effective Date, Garden Oaks HOA may make interim distributions of Available
Cash to claimholders in the General Unsecured Class on a pro rata basis; provided that, Garden Oaks
HOA reserves sufficient Available Cash for the Disputed Reserve; and provided further that, Garden
Oaks HOA must make an appropriate reserve for administrative claims arising under the Plan after
the Effective Date.

       B.      Post-Petition Transfer Fees.

        The Debtor shall refund transfer fees collected on or after the Petition Date (the “Post-
Petition Transfer Fees”) in the amount of such Transfer Fee less $1,500.00, representing the amount
the Garden Oaks HOA is authorized to collect on the transfer fee under the Plan. The Debtor and
the Committee will agree to the amounts and payees of the Post-Petition Transfer Fees.



                                                  14
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 15 of 37




       C.      Delivery of Distributions.

               1.      General Provisions; Undeliverable Distributions

        Subject to Bankruptcy Rule 9010 and except as otherwise provided herein, Distributions to
the holders of Allowed Claims shall be made at (i) the address of each holder as set forth in the
Schedule, unless superseded by the address set forth on proofs of Claim filed by such holder or (ii) the
last known address of such holder if no proof of Claim is filed or if Garden Oaks HOA has been
notified in writing of a change of address. If any Distribution is returned as undeliverable, Garden
Oaks HOA may, in its discretion, make such efforts to determine the current address of the holder of
the Claim with respect to which the Distribution was made, but no Distribution to any holder shall
be made unless and until the then-current address of the holder has been determined, at which time
the Distribution to such holder shall be made to the holder without interest from and after the
Effective Date through the date of Distribution. Amounts in respect of any undeliverable
Distributions shall be returned to, and held in trust by, Garden Oaks HOA until the Distributions are
claimed or are deemed to be unclaimed property under § 347(b) of the Bankruptcy Code as set forth
in the Plan.

               2.      Unclaimed Property.

        Except with respect to property not distributed because it is being held in the Disputed
Reserve, Distributions that are not claimed by the expiration of one year from the Effective Date shall
be deemed to be unclaimed property under § 347(b) of the Bankruptcy Code, and the Claims with
respect to which those Distributions are made shall be automatically cancelled. After the expiration
of that one-year period, the right of any Person to those Distributions shall be discharged and forever
barred.

       D.      Manner of Cash Payments Under the Plan.

       Cash payments made pursuant to the Plan shall be in United States dollars by checks drawn
on a domestic bank selected by Garden Oaks HOA.

       E.      Time Bar to Cash Payments by Check.

         Checks issued on account of Allowed Claims shall be null and void if not negotiated within
ninety (90) days after the date of issuance thereof. Requests for the reissuance of any check that
becomes null and void pursuant to the Plan shall be made directly to Garden Oaks HOA by the holder
of the Allowed Claim to whom the check was originally issued. Any Claim in respect of such voided
check shall be made in writing on or before the later of the first anniversary of the Effective Date or
the first anniversary of the date on which the Claim at issue became an Allowed Claim. After that
date, all Claims in respect of void checks shall be discharged and forever barred and the proceeds of
those checks shall become unclaimed property in accordance with § 347(b) of the Bankruptcy Code.




                                                  15
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 16 of 37



        F.      Compliance with Tax Requirements.

        In connection with making Distributions under the Plan, to the extent applicable, Garden
Oaks HOA shall comply with all tax withholding and reporting requirements imposed on it by any
governmental unit, and all Distributions pursuant to the Plan shall be subject to such withholding and
reporting requirements. Garden Oaks HOA may withhold the entire Distribution due to any holder
of an Allowed Claim until such time as such holder provides the necessary information to comply
with any withholding requirements of any governmental unit. Any property so withheld will then be
paid by Garden Oaks HOA to the appropriate authority. If the holder of an Allowed Claim fails to
provide the information necessary to comply with any withholding requirements of any governmental
unit within six months from the date of first notification to the holder of the need for such information
or for the Cash necessary to comply with any applicable withholding requirements, then such holder’s
Distribution shall be treated as an undeliverable Distribution in accordance with the Plan.

        G.      No Payments of Fractional Dollars and Minimum Distributions.

        Notwithstanding any other provision of the Plan to the contrary, no payment of fractional
dollars shall be made pursuant to the Plan. Whenever any payment of a fraction of a dollar under the
Plan would otherwise be required, the actual Distribution made shall reflect a rounding down of such
fraction to the nearest whole dollar. Garden Oaks HOA shall not be obligated to make any
Distribution of less than $5.00.

        H.      Interest on Claims.

        Except as specifically provided for in the Plan or the Confirmation Order, interest shall not
accrue on Claims and no holder of a Claim shall be entitled to interest accruing on or after the Petition
Date on any Claim. Interest shall not accrue or be paid on any Claim, or portion thereof, that is a
Disputed Claim in respect of the period from the Effective Date to the date such Disputed Claim, or
portion thereof, becomes an Allowed Claim and Distributions are made on account thereof. Except
as expressly provided in the Plan or in a Final Order of the Bankruptcy Court, no prepetition Claim
shall be Allowed to the extent that it is for post-petition interest or other similar charges.

        I.      No Distribution in Excess of Allowed Amount of Claim.

       Notwithstanding anything to the contrary contained in the Plan, no holder of an Allowed
Claim shall receive in respect of that Claim any Distribution in excess of the Allowed amount of that
Claim.

        J.      Setoff and Recoupment.

        GOMO may, but shall not be required to, setoff against, or recoup from, any Claim and the
Distributions to be made pursuant to the Plan in respect thereof, any claims or defenses of any nature
whatsoever that GOMO may have against the holder of such Claim, but neither the failure to do so
nor the allowance of any Claim under the Plan shall constitute a waiver or release by GOMO of any
right of setoff or recoupment that any of them may have against the holder of any Claim.




                                                   16
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 17 of 37



        K.      Establishment of the Administrative Claims Bar Date.

      The Confirmation Order will establish a deadline by which creditors must file applications for
Administrative Claims. That date is known as the Administrative Claims Bar Date.

         On or before the Administrative Claims Bar Date, each holder of an Administrative Claim
shall file with the Bankruptcy Court a request for payment of its Administrative Claim. The request
for payment of an Administrative Claim will be timely filed only if it is actually received by the
Bankruptcy Court by the Administrative Claims Bar Date.

        Professionals shall not be required to file a request for fees and expenses arising under §§ 328,
330, 331 or 503(b)(2)–(5) of the Bankruptcy Code on or before the Administrative Claims Bar Date,
as they will instead file final fee applications by the Professional Fee Claim Bar Date.

                                   ARTICLE VI
                      DISPUTED CLAIMS AND CLAIM OBJECTIONS

        A.      Disallowance of Late Filed Proofs of Claim.

        Except as otherwise provided in the Plan, any proof of claim filed by the holder of such Claim
after the General Bar Date is hereby disallowed and forever barred.

        B.      Disallowance of $1,500 For Each Claim Based On Return of Transfer Fees.

        Except as otherwise provided in the Plan, any proof of claim filed by the holder of such Claim
asserting the return of a transfer fee is reduced and disallowed by the amount of $1,500 which
represents the limit on the Transfer Fee under the Plan.

        C.      No Distribution Pending Allowance.

       Notwithstanding any other provision of the Plan, Garden Oaks HOA shall not distribute any
Cash or other property on account of any Claim that is Disputed unless and until such Claim or
portion thereof becomes Allowed.

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, Distributions (if
any) shall be made to the holder of such Allowed Claim in accordance with the provisions of the Plan.
Upon allowance, a holder of the Allowed Disputed Claim shall receive any Distributions that would
have been made up to the date of allowance to such holder under the Plan had the Disputed Claim
been Allowed on the Effective Date.

        D.      Resolution of Disputed Claims; Claim Objection Deadline.

        Following the Effective Date, the Committee and Garden Oaks HOA shall have the right to
make and file objections to any Claims. No other party shall have the right to object to Claims after
the Effective Date unless the Court grants leave for such party to file an objection.




                                                   17
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 18 of 37




        All objections to Disputed Claims will be filed and served upon the holders of each such Claim
not later than one hundred eighty (180) days after the Effective Date; provided that this time period
may be extended for additional periods of sixty (60) day if the Committee or Garden Oaks HOA files
a notice of extension on the docket prior to the expiration of the last period. Furthermore, the
Committee or Garden Oaks HOA may continue to prosecute any claim objection filed during such
period until the claim objection is resolved.

       E.      Estimation of Claims.

        At any time, the Committee may ask the Bankruptcy Court to estimate any contingent or
unliquidated Claim to the extent permitted by § 502(c) of the Bankruptcy Code, regardless whether
any party previously objected to such Claim or whether the Bankruptcy Court ruled on any such
objection.

        The Bankruptcy Court shall have jurisdiction to estimate any Claim at any time during litigation
concerning any objection to such Claim, including during the pendency of any appeal relating to any
such objection. If the Bankruptcy Court estimates any contingent or unliquidated Claim, that
estimated amount shall constitute either the Allowed amount of such Claim or a maximum limitation
on the Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a
maximum limitation on the Claim, the Committee may elect to pursue supplemental proceedings to
object to the ultimate allowance of the Claim.

       All of the aforementioned Claims objection, estimation and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court.

                           ARTICLE VII
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption and Rejection of Executory Contracts and Unexpired
               Leases.

        This Plan constitutes a motion to reject all Executory Contracts and Unexpired Leases. The
entry of the Confirmation Order by the Bankruptcy Court will constitute approval of all such
rejections and assumptions and assignments pursuant to §§ 365(a) and 1123 of the Bankruptcy Code.

       B.      Claims Based on Rejection of Executory Contracts and Unexpired
               Leases.

         Claims resulting from the rejection of Executory Contracts and Unexpired Leases or the
expiration or termination of any Executory Contract or Unexpired Lease after the entry of the
Confirmation Order, but prior to the Effective Date, must be filed with the Bankruptcy Court and
served on Garden Oaks HOA no later than thirty (30) days after the Effective Date. Any Claims
arising from the rejection of an Executory Contract or Unexpired Lease for which proofs of Claim
are not timely filed within that time period will be forever barred from asserting against GOMO,
Garden Oaks HOA, their assets or properties unless otherwise ordered by the Bankruptcy Court. All


                                                  18
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 19 of 37



such Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in the
Plan. Unless otherwise ordered by the Bankruptcy Court or provided in the Plan, all such Claims that
are timely filed as provided in the Plan shall be treated as a General Unsecured Class Claim.

                            ARTICLE VIII
    INDEMNIFICATION, RELEASE, INJUNCTIVE AND RELATED PROVISIONS

        A.      Compromise and Settlement.

        Pursuant to § 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for
the Distributions and other benefits provided pursuant to the Plan, the Plan constitutes a good-faith
compromise of all Claims against GOMO. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all Claims, as well as a finding by
the Bankruptcy Court that such compromise or settlement is fair, equitable, reasonable and in the best
interests of GOMO and holders of Claims.

        B.      Releases.

        (a)      Releases by GOMO. Notwithstanding anything in this Plan to the contrary, as of the
Effective Date, for the good and valuable consideration provided by each of the Releasees, including,
without limitation, the services of the Releasees in facilitating the expeditious implementation of the
Plan, GOMO hereby provides a full release to the Releasees (and each such Releasee so released shall
be deemed released and discharged by GOMO) from any and all Causes of Action and any other
debts, obligations, rights, suits, damages, actions, remedies and liabilities whatsoever, whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen
or unforeseen, existing as of the Effective Date or thereafter arising, in law, at equity, whether for tort,
contract, violations of federal or state securities laws, or otherwise, based in whole or in part upon any
act or omission, transaction, event or other occurrence or circumstances, including actions in
connection with indebtedness for money borrowed by GOMO, existing or taking place prior to or on
the Effective Date arising from or related in any way to GOMO, including, without limitation, those
that GOMO would have been legally entitled to assert or that any holder of a Claim or other Entity
would have been legally entitled to assert for or on behalf of GOMO and further including those in
any way related to GOMO’s bankruptcy estate, the Chapter 11 Cases or the Plan; provided, however, that
the foregoing provisions in the Plan shall not operate to waive or release the Releasees from any
obligation under this Plan or the Confirmation Order, as applicable.

        (b)      Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the releases set forth in this Article VIII of the Plan pursuant to Bankruptcy Rule 9019 and its finding
that they are: (a) in exchange for good and valuable consideration, representing a good faith settlement
and compromise of the Claims and Causes of Action thereby released; (b) in the best interests of
GOMO and all holders of Claims; (c) fair, equitable and reasonable; (d) approved after due notice and
opportunity for hearing; and (e) a bar to any of the Releasees asserting any Claim or Cause of Action
thereby released.




                                                    19
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 20 of 37



        C.        Exculpation.

         Notwithstanding anything contained in the Plan to the contrary, the Releasees shall neither
have nor incur any liability to any Entity for any Claims or Causes of Action arising on or after the
Petition Date, including any act taken or omitted to be taken in connection with, or related to,
formulating, negotiating, preparing, disseminating, implementing, administering, confirming or
consummating the Plan, the Disclosure Statement, or any other contract, instrument, or other
agreement or document created or entered into in connection with the Plan or Disclosure Statement
or any other postpetition act taken or omitted to be taken in connection with or in contemplation of
the Plan; provided, however, that the provisions of this paragraph shall have no effect on the liability of
any Entity that results from any such act or omission that is determined in a Final Order to have
constituted gross negligence or willful misconduct; provided, further, that each Releasee shall be entitled
to rely upon the advice of counsel concerning its duties.

        D.        Dismissal of Adversary Proceeding.

        The Committee shall dismiss the Adversary Case promptly following the Effective Date.

        E.        Injunction.

        1.     Except as otherwise expressly provided for in this Plan or in obligations issued
pursuant to the Plan, from and after the Effective Date, all Entities are permanently enjoined
from commencing or continuing in any manner against GOMO or Garden Oaks HOA and
their assets and properties, as the case may be, any suit, action or other proceeding on account
of or respecting any Claim, demand, liability, obligation, debt, right, Cause of Action, interest
or remedy released or to be released pursuant to the Plan or the Confirmation Order.

        (a)    Except as otherwise expressly provided for in this Plan or in obligations issued
pursuant to the Plan, from and after the Effective Date, all Entities shall be precluded from
asserting against GOMO, Garden Oaks HOA, the Committee, their successors and assigns
and their assets and properties, any other Claims based upon any documents, instruments, or
any act or omission, transaction or other activity of any kind or nature that occurred prior to
the Effective Date.

       (b)     The rights afforded in this Plan and the treatment of all Claims in this Plan
shall be in exchange for and in complete satisfaction of Claims of any nature whatsoever,
against GOMO, Garden Oaks HOA, or any of their assets or properties. On the Effective
Date, all such Claims against GOMO or Garden Oaks HOA shall be satisfied and released in
full.

       (c)    Except as otherwise expressly provided for in this Plan or in obligations issued
pursuant to this Plan, all Parties and Entities are permanently enjoined, on and after the
Effective Date, on account of any Claim satisfied and released hereby, from:

             i.   commencing or continuing in any manner any action or other
                  proceeding of any kind against GOMO, Garden Oaks HOA, their
                  successors and assigns, or their assets and properties;


                                                    20
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 21 of 37




          ii.   enforcing, attaching, collecting or recovering by any manner or means
                any judgment, award, decree or order against GOMO, Garden Oaks
                HOA, their successors and assigns, or their assets and properties;

         iii.   creating, perfecting or enforcing any encumbrance of any kind against
                GOMO, Garden Oaks HOA, their successors and assigns, or their
                assets and properties;

         iv.    asserting any right of setoff, subrogation or recoupment of any kind
                against any obligation due from GOMO or against GOMO’s property,
                except to the extent a right to setoff, recoupment or subrogation is
                asserted with respect to a timely filed proof of claim; or

          v.    commencing or continuing in any manner any action or other
                proceeding of any kind in respect of any Claim or Cause of Action
                released or settled hereunder.

       F.       Discharge.
        Upon confirmation of this Plan, GOMO is discharged from pre-confirmation debts pursuant
to § 1141(d) of the Bankruptcy Code.

                                      ARTICLE IX
                               RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall, after the Effective Date, retain such jurisdiction over the Chapter
11 Case and with respect to all matters related to the Chapter 11 Case, GOMO, its Estate, all property
of the Estate and the Plan as is legally permissible, including, without limitation, jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the allowance, secured status or
priority of Claims;

        2.      grant, deny or otherwise resolve any and all applications of Professionals for allowance
of compensation or reimbursement of expenses authorized pursuant to the Bankruptcy Code or the
Plan, for periods ending on or before the Effective Date;

         3.     resolve any matters related to the assumption, assignment or rejection of any executory
contract or unexpired lease to which GOMO was party or with respect to which GOMO may be
liable and to hear, determine and, if necessary, liquidate, any Claims arising therefrom;

      4.      ensure that Distributions to holders of Allowed Claims and Member Interests are
accomplished pursuant to the provisions of the Plan;



                                                  21
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 22 of 37



        5.     decide or resolve any motions, adversary proceedings, contested or litigated matters
and any other matters and grant or deny any applications involving GOMO that may be pending on
the Effective Date or instituted by the Committee after the Effective Date;

       6.      enter such orders as may be necessary or appropriate to implement or consummate
the provisions of the Plan and all other contracts, instruments, releases, indentures and other
agreements or documents adopted in connection with the Plan or the Disclosure Statement;

        7.     resolve any cases, controversies, suits or disputes that may arise in connection with the
Effective Date, interpretation or enforcement of the Plan or any Entity’s obligations incurred in
connection with the Plan;

        8.     issue injunctions, enforce them, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Entity with the Effective
Date or enforcement of the Plan, except as otherwise provided in the Plan;

       9.      enforce the various provisions of this Plan;

       10.     enforce the Injunction set forth in this Plan;

        11.     resolve any cases, controversies, suits or disputes with respect to the releases,
injunction and other provisions contained in this Plan, and enter such orders as may be necessary or
appropriate to implement or enforce all such releases, injunctions and other provisions;

       12.     enter and implement such orders as necessary or appropriate if the Confirmation
Order is modified, stayed, reversed, revoked or vacated;

       13.     resolve any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order or any contract, instrument, release, indenture or other
agreement or document adopted in connection with the Plan or the Disclosure Statement; and

       14.     enter an order and/or the decree contemplated in Bankruptcy Rule 3022 concluding
the Chapter 11 Cases.

                                       ARTICLE X
                               MISCELLANEOUS PROVISIONS

       A.      Final Fee Applications.

       The deadline for submission by Professionals of final applications for Bankruptcy Court
approval of Accrued Professional Compensation shall be the Professional Fee Claim Bar Date.

       B.      Payment of Statutory Fees.

         All fees payable pursuant to § 1930 of title 28 of the United States Code shall be paid on the
earlier of when due or the Effective Date, or as soon thereafter as practicable. From and after the
Effective Date, Garden Oaks HOA shall be liable for and shall pay the fees under 28 U.S.C. § 1930


                                                  22
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 23 of 37



assessed against GOMO under 28 U.S.C. § 1930 until entry of a Final Decree closing the case. In
addition, Garden Oaks HOA shall file post-confirmation quarterly reports or any pre-confirmation
monthly operating reports not filed as of the Confirmation Hearing in conformity with the U.S.
Trustee guidelines, until entry of an order closing or converting the case. The U.S. Trustee shall not
be required to file a request for payment of its quarterly fees, which shall be deemed an Administrative
Claim against GOMO.

       C.      Modification of the Plan.

        Subject to the limitations contained in the Plan, the Committee reserves the right, in
accordance with the Bankruptcy Code and the Bankruptcy Rules to (i) amend or modify the Plan,
prior to the entry of the Confirmation Order, including amendments or modifications to satisfy
§ 1129(b) of the Bankruptcy Code; and (ii) after the entry of the Confirmation Order, upon order of
the Bankruptcy Court, amend or modify the Plan, in accordance with § 1127(b) of the Bankruptcy
Code, or remedy any defect or omission or reconcile any inconsistency in the Plan in such manner as
may be necessary to carry out the purpose and intent of the Plan.

       D.      Revocation of Plan.

        The Committee reserves the right to revoke or withdraw the Plan prior to the entry of the
Confirmation Order, and to file subsequent chapter 11 plans. If the Committee revokes or withdraws
the Plan or if entry of the Confirmation Order or the Effective Date does not occur, then: (i) the Plan
shall be null and void in all respects; (ii) any settlement or compromise embodied in the Plan,
assumption or rejection of executory contracts or leases affected by the Plan, and any document or
agreement executed pursuant hereto shall be deemed null and void; and (iii) nothing contained in the
Plan shall: (a) constitute a waiver or release of any Claims or Member Interests; (b) prejudice in any
manner the rights of GOMO, the Committee, or any other Entity; or (c) constitute an admission of
any sort by GOMO, the Committee, or any other Entity.

       E.      Successors and Assigns.

       The rights, benefits and obligations of any Entity named or referred to herein and the Plan
Supplement shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor or assign of such Entity.

       F.      Governing Law and Construction.

        Except to the extent that the Bankruptcy Code or Bankruptcy Rules apply, and subject to the
provisions of any contract, instrument, release, indenture or other agreement or document entered
into in connection herewith, the rights and obligations arising hereunder shall be governed by, and
construed and enforced in accordance with, the laws of the state of Texas, without giving effect to the
principles of conflict of laws thereof. Any inconsistency between the Plan and the Confirmation
Order shall be construed in favor of and so as to give effect to the Confirmation Order. All exhibits
and schedules to the Plan and the Plan Supplement shall be incorporated in the Plan by this reference,
as though set forth at length herein.


                                                  23
       Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 24 of 37




        G.      Reservation of Rights.

        Except as expressly set forth herein, the Plan shall have no force or effect unless and until the
Bankruptcy Court enters the Confirmation Order. Neither the filing of the Plan, any statement or
provision contained herein, nor the taking of any action by GOMO, the Committee, or any Entity
with respect to the Plan shall be or shall be deemed to be an admission or waiver of any rights of: (i)
GOMO or the Committee with respect to the holders of Claims or Member Interests or other parties
in interest; or (ii) any holder of a Claim or Member Interest or other party-in-interest prior to the
Effective Date.

        H.      Section 1146 Exemption.

         Pursuant to § 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the Plan
shall not be subject to any stamp tax or other similar tax or governmental assessment in the United
States, and the Confirmation Order shall direct the appropriate state or local governmental officials
or agents to forego the collection of any such tax or governmental assessment and to accept for filing
and recordation instruments or other documents pursuant to such transfers of property without the
payment of any such tax or governmental assessment.

        I.      Section 1125(e) Good Faith Compliance.

        GOMO, the Committee and each of their respective Representatives shall be deemed to have
acted in “good faith” under§ 1125(e) of the Bankruptcy Code, and the Confirmation Order shall
including a finding of fact to that effect.

        J.      Further Assurances.

         GOMO, the Committee, all holders of Claims receiving Distributions hereunder and all other
parties in interest shall, from time to time, prepare, execute and deliver any agreements or documents
and take any other actions as may be necessary or advisable to effectuate the provisions and intent of
the Plan or the Confirmation Order.

        K.      Filing of Additional Documents.

       On or before the Effective Date, the Committee may file with the Bankruptcy Court all
agreements and other documents that may be necessary or appropriate to effectuate and further
evidence the terms and conditions hereof.

        L.      No Stay of Confirmation Order.

        The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
applicable, including pursuant to Bankruptcy Rules 3020(e) and 7062.




                                                   24
  Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 25 of 37



   M.     Bankruptcy Code Section 1141 Discharge.

GOMO shall receive a discharge under § 1141 of the Bankruptcy Code.


                         [Remainder of Page Intentionally Left Blank]




                                             25
      Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 26 of 37



Dated: April 8, 2019
                                    THE OFFICIAL COMMITTEE OF UNSECURED
                                    CREDITORS OF GARDEN OAKS MAINTENANCE
                                    ORGANIZATION, INC.

                                    /s/ Gary C. Ingram
                                    Gary C. Ingram
                                    Committee Co-Chair



                                    DIAMOND McCARTHY LLP

                                    By: /s/ Charles M. Rubio
                                    Charles M. Rubio
                                    TBA No. 24083768
                                    crubio@diamondmccarthy.com
                                    Tel: (713) 333-5127
                                    Michael D. Fritz
                                    TBA No. 24083029
                                    mfritz@diamondmccarthy.com
                                    Tel: (713) 333-5128
                                    909 Fannin, Suite 3700
                                    Houston, TX 77010

                                    Counsel to the Official Committee of Unsecured Creditors of
                                    Garden Oaks Maintenance Organization, Inc.




                                       26
Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 27 of 37



                         Exhibit A to Plan

                 Proposed Amendment to the Bylaws
      Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 28 of 37



                                         [PROPOSED]

                  AMENDMENT TO BYLAWS OF
    GARDEN OAKS HOMEOWNERS ASSOCIATION (F/K/A GARDEN OAKS
               MAINTENANCE ORGANIZATION, INC.)

      The Bylaws of Garden Oaks Homeowners Association (F/K/A Garden Oaks
Maintenance Organization, Inc.) (the “Bylaws”) are hereby amended as follows:

      1.      Garden Oaks Maintenance Organization, Inc. is renamed to Garden Oaks
Homeowners Association (the “Association”). All references to “Garden Oaks Maintenance
Organization, Inc.” are changed to “Garden Oaks Homeowners Association” All references to
“Organization” are changed to “Association.”

      Section 2.01 is replaced in it entirety with the following:

      2.01 Membership. There will be one (1) class of Members. All record owners (an
      “Owner” or “Owners”) of any separately-owned parcel (a “Parcel”, as defined below)
      within each participating section of Garden Oaks, Sections 1, 2, 3, and 5 (collectively, each
      participating section being herein referred to as the “Subdivision” and individually, each
      participating section being herein referred to as a “Section”) in Harris County, Texas, shall
      be members (“Members”) of the Association. The Board, in its reasonable discretion,
      and if the Restrictions applicable to Garden Oaks, Section 4 are amended to read in a
      manner acceptable to the Board, may add Garden Oaks, Section 4 to be within the
      jurisdiction of the Association and in such instance, “Subdivision” shall also include
      Garden Oaks, Section 4, and Garden Oaks, Section 4 will be also be defined as a
      “Section”. The Association is the governing entity pursuant to the Declaration and/or
      Restrictions applicable to each Section.

      1.     Section 3.06 is replaced in its entirety with the following:

      a.       Quorum. Except as otherwise provided in these Bylaws, the presence, in
      person or by proxy, absentee ballot, or electronic ballot, of Members representing
      at least ten percent (10%) of the total votes allocated to Owners in the Subdivision
      shall constitute a quorum for the conduct of business at a meeting. If a quorum is
      not present at any meeting of Members, Members representing a majority of the
      Parcels present at the meeting may adjourn and reconvene the meeting at a later
      time or date. The Board may establish rules to implement proxy voting, absentee
      voting, and electronic voting.

      2.       Section 4.02e. is added to Article 4 to read as follows:

      e.       Notwithstanding anything contained in these Bylaws to the contrary, the
      Members will be entitled to elect three (3) Directors to represent their respective
      Sections. In connection with the Amended Plan of Reorganization of the Official
      Committee of Unsecured Creditors of Garden Oaks Maintenance Organization (the “Plan”)
      filed in the U.S. Bankruptcy Court for the Southern District of Texas (the “Court”)
      in the case styled as In re Garden Oaks Maintenance Organization, Inc., Case No. 18-


                                                1
Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 29 of 37



60018-H2-11 and confirmed pursuant to that certain Order entered on
__________ ___, 2019 [Dkt. No. ______] (the “Confirmation Order], the
current Directors shall resign and new Directors will be elected pursuant to the
procedures in the Plan and Confirmation Order (the “Initial Post-Reorganization
Directors”).

       At the expiration of the terms of the Initial Post-Reorganization Directors,
Directors will each thereafter be elected to serve terms for three (3) years. Each
Director will continue to hold office until his/her successor is elected.

3.       Section 4.02f. is hereby added to read as follows:

f.      Before the Association disseminates absentee ballots or other ballots to the
Members for purposes of voting in a Board member election, the Association
must provide notice to the Members soliciting candidates interested in running for
a position on the Board. The notice must contain instructions for an eligible
candidate to notify the Board of the candidate’s request to be placed on the ballot
and the deadline to submit the candidate’s request. The deadline may not be earlier
than the 14th day after the date the Board provides the notice. The absentee ballot
or other ballot must include the name of each eligible candidate from whom the
Board received a request to be placed on the ballot prior to the deadline to receive
requests to be placed on the ballot.

The notices and ballots required by this provision must be:

        1.      mailed to each Member; or
        2.      provided by:
                (a) posting the notice in a conspicuous manner reasonably
                    designed to provide notice to the Members:
                    (i) on public or privately-owned property within the
                         Subdivision in a conspicuous manner, with the Owner’s
                         consent; or
                    (ii) on any Internet website maintained by the Association or
                         other Internet media; and
                (b) sending by e-mail to each Member who has registered an e-
                    mail address with the Association.

The Board will be responsible for the affairs of the Association and will have all
of the powers necessary for the administration of the Association’s affairs. The
Board may employ for the Association a professional management agent or agents
at a compensation established by the Board to perform such duties and services as
the Board shall authorize. To avoid conflicts and the appearance of improprieties,
the Board will not select a professional management agent that has a controlling
owner, officer, director, or partner that is an owner in the Subdivision.

4.      Section 4.08 is replaced in its entirety with the following:

4.08    Quorum. A majority of the Directors then in office will constitute a quorum


                                           2
Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 30 of 37



for the transaction of business at any Board meeting; provided that there must be at
least one (1) Director from each Section. If a quorum is not present at the meeting, a
majority of the Directors present may adjourn the meeting from time to time without
further notice.

5.        Section 4.10 is replaced in it entirety with the following:

4.10       Vacancies. The Board will call and hold a special meeting of the Members
to fill vacancies on the Board. Solicitation of candidates will be in accordance with
Section 4.02f. of these Bylaws. The Director who is elected at the special meeting of
the Members will serve for the remainder of the unexpired term. If no Member in
the Section for which the Director positions open chooses to stand for election, the
special meeting will be canceled, and the Board shall appoint a Director who is a
Member in the Section for which the Director position is open and such appointed
Director will serve for the remainder of the unexpired term of the position. If the
Board, after making a reasonable attempt, cannot find a Member in the Section for
which the Director position is open, the Board may appoint a Director who is a
Member lot in any Section of the Subdivision and such appointed Director will serve
for the remainder of the unexpired term of the position.

6.        Section 9.02 is replaced in its entirety with the following:

Section 9.02 Prohibited Actions. Pursuant to the limitations of the Association’s
authority as set forth in the Restrictions, the Association may not (a) establish, assess,
or collect a mandatory assessment of any kind, except the mandatory assessment
expressly provided in the Restrictions, as amended or (b) impose a lien against land in
the Subdivision for failure to pay any assessments (collectively, “Prohibited Actions”).

8.        Section 9.03(b) is replaced in its entirety with the following:

Transfer Assessments. With respect to the one-time assessment charged by GOMO
when a parcel of property in Garden Oaks Sections 1, 2, 3 and 5 is transferred from
one owner to another owner (the “Transfer Assessment”) the Association shall limit
the amount it collects on each such Transfer Assessment to an amount equal to
$1,500.00 subject to increases described in the rest of this subsection. The Board
shall determine the sufficiency or insufficiency of the then-current Transfer
Assessment for the Association to reasonably meet its expenses (and within the limits
as set forth in Section (b)(viii) below) and may, increase the Transfer Assessment in an
amount up to three percent (3%) over the maximum amount of the Transfer
Assessment that could have been assessed in the prior calendar year (the “Prior Year
Maximum Assessment”). The Transfer Assessment may only be increased by more
than three percent (3%) over the Prior Year Maximum Assessment, but no more than
ten percent (10%) over the Prior Year Maximum Assessment if such increase is
approved by a majority of the Members of the Association (the “Members”) present,
in person or by proxy, electronic ballot, or absentee ballot, at a meeting of the
Members called for said purpose at which a quorum is present, in person or by proxy,
electronic ballot, or absentee ballot. The Transfer Assessment may only be increased
in an amount more than ten percent (10%) over the Prior Year Maximum Assessment


                                            3
Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 31 of 37



if such increase is approved by Owners of a majority of the Lots in the Subdivision.
The Transfer Assessment shall not be increased more than once in a calendar year nor
shall any increase be construed to take effect retroactively.

9.        Section 7.05 is replaced in its entirety with the following:

Surplus Funds. The Board will maintain a balance of no more than $100,000, subject
to an annual increase in the same percentage as the annual increase of the Transfer
Assessment (“Reserve”) in readily available funds as a reserve for the Association’s
operation, administrative, legal, enforcement, and other appropriate expenses. At least
once a year, funds in the Association’s treasury in excess of the Reserve (the cumulative
amount of such funds at any point in time, the “Excess Funds”) shall be placed in a
segregated account and allocated by the Board for the support of neighborhood
activities and programs to benefit the Subdivision generally. Such funds in excess of
the Reserve shall be used exclusively for the foregoing activities and not for
enforcement activities. Members may deliver proposals to the Board for use of these
funds at least sixty days before each annual meeting of Members. Prior to the annual
meeting, the Board's shall distribute the proposals for use of the Excess Funds to the
members and the members shall have an opportunity to vote on the use of the Excess
Funds. Provided that there is a quorum of the members voting, the Board shall use
the Excess Funds for the project receiving the most number of votes. If a proposal
for use of the Excess Funds is not approved, the Excess Funds shall remain in the
Association’s segregated account until the subsequent proposals are brought before
the next annual or special meeting of Members.

10.       Section 15.01 is replaced with the following:

15.01    These Bylaws may be altered, amended, or repealed and new bylaws adopted
by the Board at any Board meeting if at least thirty (30) days written notice is given to
the Members in advance of the Board meeting. The notice must state verbatim the
content of the proposed alterations, amendment, repealing language, or new bylaw
provisions to be presented to the Board for consideration at the Board meeting.




                                            4
Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 32 of 37



                         EXHIBIT B to Plan
             Proposed Amendment to the Deed Restrictions
      Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 33 of 37



                                          [PROPOSED]

 AMENDMENT TO RESTRICTIONS APPLYING TO GARDEN OAKS, SECTION ___

        This Amendment (this “Amendment”) to the Dedication and/or Restrictions applicable to
Garden Oaks, Section ____ recorded in Volume _____, Page ___ of the Official Public Records of
Harris County, Texas (as amended, the “Deed Restrictions”) hereby amends the Deed Restrictions
as set forth herein by the authority of the affirmative vote of Owners in Garden Oaks, Section ___
and pursuant to Texas Property Code § 209.0041. This Amendment becomes effective upon
recording in the Official Real Property Records of Harris County, Texas.

                                               RECITALS:

       Garden Oaks, Section ___ is a subdivision in Harris County, Texas, as more fully described in
the Deed Restrictions (the “Subdivision”).

       Garden Oaks, Section ___ is encumbered by the Deed Restrictions.

       Capitalized terms used but not defined herein have the meanings assigned to such terms in
the Deed Restrictions.

                                              AMENDMENTS:

       The Deed Restrictions are amended as follows:

   1. All references to “Garden Oaks Co.” or “Company” are amended to be references to Garden
Oaks Homeowners Association, its successors and assigns through a merger, reorganization, or
otherwise (the “Association”)

   2. The Section entitled “Maintenance Fund” is replaced in its entirety as follows:

       Maintenance Fund.

               (a) Creation of Assessments.

               When any lot in this Subdivision (“Lot”) is conveyed by one person to another
       (except in connection with the division of community property after a divorce, the
       result of the death of an owner, or a transfer to a wholly-owned entity of the Owner),
       the new owner (“Owner”) of such Lot is obligated to pay a one-time special
       assessment (“Transfer Assessment”) in an amount equal to the lesser of (i) $1,500.00
       subject to increases under section b.iv. below and (ii) 0.75% of the greater of (a) the
       gross purchase price of the Parcel as shown on the closing statement, or (b) the
       appraisal of the Lot as shown on the then-current records of the Harris County
       Appraisal District. Each such Transfer Assessment shall be the personal obligation of
       the new Owner. No diminution or abatement of Transfer Assessments or set-off shall
       be claimed or allowed by reason of any alleged failure of the Association to take some
       action or perform some function required to be taken or performed by the Association
       under these Deed Restrictions. The obligation to pay the Transfer Assessments is a



                                                 1
Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 34 of 37



separate covenant on the part of each Owner and is independent of any obligation of
the Association.

        (b) Transfer Assessment.

        i.      Purpose. Subject to the limitation set forth herein, the Transfer
Assessment levied by the Association shall be used for any legal purpose for the benefit
of the Subdivision as determined by the Board of Directors of the Association (the
“Board”) and, in particular, may, by way of example and not limitation or obligation,
include operational expenses of the Association, enforcement of these Deed
Restrictions, payment of insurance premiums, costs of collection and litigation,
administrative expenses, and any other services ancillary to the foregoing. The Board
may, in its sound discretion, give one or more of the purposes set forth herein
preference over other purposes, and it is agreed that all expenses incurred and
expenditures and decisions made by the Board in good faith shall be binding and
conclusive on the Association.

       ii.     Creation. Payment of the Transfer Assessment shall be the obligation
of each new Owner, subject to the provisions below, and shall be binding and
enforceable as provided in these Deed Restrictions.

        iii.     Levying of the Transfer Assessment. The Board shall determine the
sufficiency or insufficiency of the then-current Transfer Assessment for the
Association to reasonably meet its expenses (and within the limits as set forth in
Section (b)(viii) below) and may, increase the Transfer Assessment in an amount up
to three percent (3%) over the maximum amount of the Transfer Assessment that
could have been assessed in the prior calendar year (the “Prior Year Maximum
Assessment”). The Transfer Assessment may only be increased by more than three
percent (3%) over the Prior Year Maximum Assessment, but no more than ten percent
(10%) over the Prior Year Maximum Assessment if such increase is approved by a
majority of the Members of the Association (the “Members”) present, in person or by
proxy, electronic ballot, or absentee ballot, at a meeting of the Members called for said
purpose at which a quorum is present, in person or by proxy, electronic ballot, or
absentee ballot. The Transfer Assessment may only be increased in an amount more
than ten percent (10%) over the Prior Year Maximum Assessment if such increase is
approved by Owners of a majority of the Lots in the Subdivision. The Transfer
Assessment shall not be increased more than once in a calendar year nor shall any
increase be construed to take effect retroactively.

        iv.     Cap on Association Reserve Funds. The Board will maintain a balance
of no more than $100,000, subject to an annual increase in the same percentage as the
annual increase of the Transfer Assessment ("Reserve") in readily available funds as a
reserve for the Organization's operation, administrative, legal, enforcement, and other
appropriate expenses. At least once a year, funds in the Organization's treasury in
excess of the Reserve (the cumulative amount of such funds at any point in time, the
“Excess Funds”) shall be placed in a segregated account and allocated by the Board
for the support of neighborhood activities and programs to benefit the Subdivision
generally. Such funds in excess of the Reserve shall be used exclusively for the


                                           2
  Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 35 of 37



   foregoing activities and not for enforcement activities. Members may deliver proposals
   to the Board for use of these funds at least sixty days before each annual meeting of
   Members. Prior to the annual meeting, the Board's shall distribute the proposals for
   use of the Excess Funds to the members and the members shall have an opportunity
   to vote on the use of the Excess Funds. Provided that there is a quorum of the
   members voting, the Board shall use the Excess Funds for the project receiving the
   most number of votes. If a proposal for use of the Excess Funds is not approved,
   the Excess Funds shall remain in the Organization’s segregated account until the
   subsequent proposals are brought before the next annual or special meeting of
   Members.

            (c) Enforcement.

           The Association may bring an action in law against the Owner personally
   obligated to pay the Transfer Assessment, late fees as reasonably determined by the
   Board, interest as reasonably determined by the Board and not to exceed the maximum
   non-usurious rates that may be charged under Texas or Federal law, and costs,
   including attorneys’ fees, incurred by the Association in collecting same and obtain a
   personal judgment against the Owner. No lien is created herein to secure the payment
   of the Transfer Assessment, late fees, interest, costs, and attorneys’ fees.

           (d) Revocation of Other Mandatory Fees.

          Except as set forth in this Amendment to the extent that any provision in the
   Deed Restrictions or the Association’s Bylaws seeks to impose any other mandatory
   assessment or fee, such a provision is null and void.

3. The section titled “Racial Restrictions” is permanently deleted from the Deed Restrictions.

4. The following section is added to the Deed Restrictions:

   Amending and Modifying Deed Restrictions:

   Notwithstanding any other provision in the Deed Restrictions to the contrary, the
   following shall apply:

           (a) Approval by the Owners of a majority (fifty percent (50%) plus one (1)) of
   the Lots in this Subdivision shall be required to amend or modify these Deed
   Restrictions. Upon approval of the Owners, as set out herein, the amendment or
   modification shall be recorded in the Official Public Records of Harris County, Texas,
   whereupon to the extent of any conflict with the current Deed Restrictions and the
   new amendment, the new amendment shall control.

           (b) The approval of multiple Owners of a Lot may be reflected by the signature
   of any one (1) Owner of such Lot. Notwithstanding anything contained herein to the
   contrary, the Association shall be entitled to use any combination of the following
   methods to obtain approval of the Owners for an amendment to these Deed
   Restrictions:



                                             3
      Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 36 of 37



               i.     by written ballot or electronic ballot, as same may be established by the
       Association, that states the substance of the amendment and specifies the date by
       which a written ballot or electronic ballot must be received to be counted;

               ii.     at a meeting of the members of the Association, if written notice of
       the meeting stating the purpose of the meeting is delivered to the Owners of the Lots;
       such notice may be hand-delivered to the Owners, sent via regular mail to the Owner’s
       last known mailing address, as reflected in the Association’s records, or via email to
       the Owner’s email address as reflected in the Association’s records;

               iii.   by door-to-door circulation of a petition by the Association or a person
       authorized by the Association; and

               iv.   any combination of the foregoing and any other method not
       prohibited under the Deed Restrictions and otherwise in accordance with applicable
       law.

   5. Any provisions in the Deed Restrictions, prior to giving effect to this Amendment, that
contradict any provision of this Amendment are superseded and replaced by the terms of this
Amendment.




                                                  4
         Case 18-60018 Document 114 Filed in TXSB on 04/08/19 Page 37 of 37



                                      CERTIFICATION
       I, the undersigned, do hereby certify that I am the __________________ of the Garden Oaks
Homeowners Association (F/K/A Garden Oaks Maintenance Organization, Inc.) and that this
instrument constitutes the Amendment to the Declaration and/or Restrictions applicable to Garden
Oaks, Section ___ and was affirmatively approved by the Owners in Garden Oaks, Section ____
pursuant to Section 209.0041 of the Texas Property Code.

      IN WITNESS WHEREOF, I have hereunto subscribed my name on this the _____ day of
________________________, 2019.


By:

Name:

Title:


         SUBSCRIBED AND SWORN TO BEFORE ME on this ____ day of __________, 2019,
to certify which witness my hand and official seal.


                                                   Notary Public, State of Texas




                                               5
